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                                              Attorneys for Plaintiffs
                                            9
                                              Lubby Holdings LLC,
                                           10 Vaporous Technologies, LLC

                                           11
                                                                      UNITED STATES DISTRICT COURT
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                                           12
                                                                    CENTRAL DISTRICT OF CALIFORNIA
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                                           13
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                                           14 LUBBY HOLDINGS LLC, a Delaware                  Case No: 2:18-cv-00715-RGK-JC
                                           15 limited liability company; VAPOROUS
                                                TECHNOLOGIES, INC., a Delaware                Honorable R. Gary Klausner
                                           16 corporation;                                    United States District Judge
                                           17
                                                             Plaintiffs,                      PLAINTIFF LUBBY HOLDINGS,
                                           18                                                 LLC., et. al. CONTENTIONS OF
                                           19        v.                                       FACT AND LAW

                                           20 HENRY CHUNG, an individual; MING      Pretrial Conference:
                                           21 CHEN, an individual; DEEPVAPES, INC., March 18, 2019 at 09:00 AM
                                              a California Corporation d/b/a BOOM
                                           22                                       Jury Trial Date:
                                              VAPORIZER; DOES 1-10, inclusive,
                                           23                                       April 2, 2019 at 09:00 AM

                                           24                Defendants.
                                           25

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                                                          PLAINTIFF LUBBY HOLDINGS, LLC., et. al. CONTENTIONS OF FACT AND LAW
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                                            1             MEMORANDUM OF CONTENTIONS OF FACT AND LAW
                                            2         Pursuant to Local Rule 16-4, Plaintiffs Lubby Holdings LLC, and Vaporous
                                            3
                                                Technologies, Inc. (hereinafter collectively as “Plaintiffs” submit their Memorandum
                                            4
                                                of Contentions of Fact and Law. Claims and Defenses. Plaintiffs have pleaded and
                                            5
                                                indicated they plan to puruse the following claims agasint Defendants HENRY
                                            6
                                                CHUNG, an individual; MING CHEN, an individual; DEEPVAPES, INC., a
                                            7
                                                California Corporation d/b/a BOOM VAPORIZER.
                                            8
                                                          A. Summary of Plaintiffs’ Claims:
                                            9
                                                            CLAIM 1: Defendants knowingly and willfully infringed Plaintiffs’
                                           10
                                                exclusive rights to patent No. 9,750,284 (hereinafter “the ’284 Patent” or “the Patent
                                           11
                                                In Suit”) under 35 U.S.C § 271;
                                           12
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                                                      The elements required to establish a claim for patent infringement are:
                                           13
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                                                      1. Defendants have made, used, sold, offered for sale, or imported within the
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                                           14
                                           15         United States a product; and

                                           16         2. Defendants’ product include each and every element of at least one asserted
                                           17         claim of the Patent In Suit.
                                           18                The elements required to establish willful infringement are:
                                           19                1. Infringement of a patent claim, and
                                           20                2. The preponderance of the evidence indicates that Defendants
                                           21                intentionally ignored or recklessly disregarded the claims of ‘284 Patent.
                                           22 See N.D. Cal. Model Jury Instructions §§ 3.2, 3.3, 3.10. Apple Inc. v. Samsung Elecs.
                                           23 Co., 258 F. Supp. 3d 1013, 1023 (N.D. Cal. 2017)
                                           24             B. Summary of Plaintiff’s Key Evidence in Support of its claims
                                           25                 Testimony of Plaintiff’s Expert: Andreas Brekke establishing
                                           26                   infringement of the ’284 Patent
                                           27
                                                              Andreas Brekke’ written analysis and acocmpanying Exhibits
                                           28
                                                                establishing infringement of the ’284 Patent

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                                            1                 Testimony of Christian Rado concering inventorship the Patent In
                                            2                   Suit, and relationship with Defendants, specificallt Henry Chung
                                            3
                                                              Evidence showing NDA between Rado and Chung dated July 22,
                                            4
                                                                2015 which involved sharing confidential information from Plaintiff
                                            5
                                                                to Defendant
                                            6
                                                              Evidence showing second NDA between Plaintiff and Henry Chung
                                            7
                                                                dated October 27, 2015
                                            8
                                                              Evidence showing supply agreement dated October 14, 2015 between
                                            9
                                                                Plaintiff and Defendant
                                           10
                                                              Evidence showing Henry Chung is the registrant, admin and tech
                                           11
                                                                contat for BoomVaporizer.com;
                                           12
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                                                              Evidence      showing    email    communications      between    Parties
                                           13
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                                                                establishing willfulness;
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                                           14
                                           15                 The issued ‘284 Patent;

                                           16                 The prosecution history file of the ‘284 Patent.
                                           17            C. DEFENDANT’S AFFIRMATIVE DEFENSES:
                                           18         In the Rule 16 conference of Counsel, the Defendants did not state their
                                           19 intention to assert any affirmative defenses.
                                           20            D. Anticipated Evidenary Issues:
                                           21         The deadline to file motions in limine has passed and Defendants have not filed
                                           22 any. Therefore Defendants have waived any evidenatiry issues they may have against
                                           23 Plaintiff’s evidence. No evidentary issues were identified in the Rule 16 Conference
                                           24 of counsel. Plaintiffs anticipate a disagreement regarding Defendant’s evidence
                                           25 regarding sales of infringing products.
                                           26            E. Anticipated Issues of Law
                                           27
                                                      Plaintiffs are not aware of any issues of law and none were discussed during
                                           28
                                                the Rule 16 conference of counsel. Plaintiffs reserve the right to supplement this brief

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                                            1 if Defendants raise any further issues in this regard.
                                            2          I.        Bifurcation of Issues
                                            3
                                                        Plaintiffs do not request bifurcation of any issues in this case.
                                            4
                                                      II.        Jury Trial
                                            5
                                                        The Court set a jury trial in its July 16, 2018 Order (ECF Dkt. 28). The jury
                                            6
                                                trial is currently set for April 2, 2019. All claims and affirmative defenses are triable
                                            7
                                                to a jury.
                                            8
                                                        Enhanced Damages
                                            9
                                                        Plaintiffs have contended that Defendants infringement of the ‘284 Patent was
                                           10
                                                willful. Plaintiffs plan to ask the Court to award enhanced damages based on
                                           11
                                                willfulness.
                                           12
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                                                   III.          Attorneys’ Fees
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                                                            Plaintiffs request this case be declared exceptional within the meaning of 35
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                                           14
                                           15 U.S.C. §285 as interpreted by the Supreme Court in Octane Fitness, and therefore
                                           16 entitled to attorneys’ fees , costs, and expenses incurred in connection with the action
                                           17 as stated in its prayer for relief. See Octane Fitness, LLC v. ICON Health & Fitness,
                                           18 Inc., 572 U.S. 545, 553 (2014)
                                           19               The Court has discretion to award reasonable attorneys’ fees and costs to the
                                           20 prevailing party in exceptional cases. Id.
                                           21 / / /
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                                            2    IV.         Abandonment of Issues
                                            3
                                                       Defendants abandoned all affirmative defenses.
                                            4
                                            5 Dated: February 25, 2019             ADLI LAW GROUP, P.C.
                                            6
                                            7                                      By: /s/ Dariush G. Adli
                                                                                       Dariush Adli
                                            8                                          Drew Sherman
                                            9                                          Joshua Eichenstein
                                                                                       Attorneys for Plaintiff
                                           10
                                                                                       Lubby Holdings LLC,
                                           11                                          Vaporous Technologies, LLC
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